      Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 1 of 13




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


DEBORAH LAUFER                    )
                                  )
     Plaintiff                    )
                                  )
v.                                )     Civil Action No.: 20-2208 (RBW)
                                  )
R B PROPERTIES INC.,              )
                                  )
     Defendant                    )
                                  )

DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                     MOTION TO DISMISS
           Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 2 of 13




                                                   TABLE OF CONTENTS
I.        Introduction ………………………………………………………………………… ……3
II.       Legal Standard …………………………………………………………………………... 4
              a. Subject Matter Jurisdiction ……………………………………………………… 4
              b. Failure to State a Cause of Action Upon Which Relief Can Be Granted ….......... 5
III.      Argument ………………………………………………………………………………... 5
              a. Plaintiff Has Failed to Establish This Court’s Subject-Matter Jurisdiction …….. 5
              b. The Complaint Fails to State a Claim Upon Which Relief Can Be Granted ……10


                                                TABLE OF AUTHORITIES
Cases
Allen v. Wright, 468 U.S. 737, 750 (1984) ..................................................................................3
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) ............................................................................ 4, 9
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) .......................................................... 4, 10
Equal Rights Ctr. V. Hilton Hotels Corp., 2009 U.S. Dist. LEXIS 126645 (2009) .......................7
Holt v. Am. City Diner, Inc., 2007 U.S. Dist. LEXIS 35284, *12 (D.D.C. 2007) ..................... 3, 6
Jin v. Ministry of State Sec., 475 F. Supp. 2d 54, 60 (D.D.C. 2007).............................................3
Jones v. Horne, 634 F.3d 588, 595 (D.C. Cir. 2011) ....................................................................4
Larsen v. U.S. Navy, 486 F.Supp. 2d 11, 18 (D.D.C. 2012) .........................................................3
Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) ....................................................... 4, 6
Patton Boggs LLP v. Chevron Corp., 683 F.3d 397, 403 (D.C. Cir. 2012) ...................................4
Umude v. Am. Sec. Programs, Inc., 107 F. Supp. 3d 52, 54 (D.D.C. 2015) .................................4
Urban Health Care Coalition v. Sebelius, 853 F.Supp. 2d 101, 104 (D. D.C. 2012) .....................3
Ware v. Hyatt, 2014 U.S. Dist. LEXIS 203101, *12 (2013) .........................................................9
Statutes
28 C.F.R. § 36.302(e)(1) ....................................................................................................... 2, 10
28 C.F.R. § 36.302(e)(1)(i) ........................................................................................................11
28 C.F.R. §36.302(e)(ii) ............................................................................................................11
28 C.F.R. §36.302(e)(iii) ...........................................................................................................11
28 C.F.R. §36.302(e)(iv) ...........................................................................................................11
28 C.F.R. §36.302(e)(v) ............................................................................................................11
28 C.F.R. ¶ 36.302 et. seq............................................................................................................6
Rules
Fed. R. Civ. P. 12(b)(6) ...............................................................................................................4
Fed. R. Civ. P. 8(a)(2) ............................................................................................................. 4, 9
Rule 12(b)(1) ..............................................................................................................................3
Rule 12(b)(6) ..............................................................................................................................4



                                                                     1
         Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 3 of 13




         COMES NOW, Defendant, R B Properties Inc., by counsel, by counsel, and in and for its

Memorandum of Points and Authorities in Support of its Motion to Dismiss, filed pursuant to

Fed. R. Civ. P 12(b) states as follows:

    I.      Introduction

         This action arises from alleged violations of 28 C.F.R. § 36.302(e)(1). Plaintiff, a self-

described “tester” of hotel websites has filed many lawsuits in several states alleging identical

violations, seeking injunctive relief, and requesting attorney’s fees. Essentially, Plaintiff, from

her home and without any intent to actually book a hotel room, searches third-party websites for

compliance with 28 C.F.R. § 36.302(e)(1).

         Plaintiff, a resident of Florida, explains her methods, in detail, in the Complaint. On the

dates identified below, “Plaintiff visited the websites for the purposes of reviewing and assessing

the accessible features of at the Property and ascertain whether they meet the requirements of 28

C.F.R. Section 36.302(e) and her accessibility needs.” ECF-2, ¶ 10. Plaintiff alleges that 28

C.F.R. § 36.302(e) has been violated because on July 17, 19, 20, 21, and 25 of 2020, the websites

from booking.com, expedia.com, hotels.com, priceline.com, orbitz.com, and agoda.com “did not

identify or allow for reservation of accessible guest rooms and did not provide sufficient

information regarding accessibility at the hotel.” ECF-2, ¶ 11. From the allegations set forth in

the Complaint, Plaintiff has never been to the Hotel Lombardy, she has never attempted to

reserve a room for an actual trip to Washington, D.C., she has no trips to Washington D.C. and

the Hotel Lombardy planned, and she has never directly contacted the Hotel Lombardy regarding

an accessible room reservation. Additionally, this lawsuit is the first notice provided by Plaintiff

to the Hotel Lombardy regarding any alleged deficiencies in its booking or third-party booking

sites.


                                                   2
         Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 4 of 13




         Plaintiff’s Complaint must be dismissed because Plaintiff has failed to sufficiently

establish this Court’s subject-matter jurisdiction over this case, because Plaintiff’s allegations do

not amount to an injury, in-fact. Additionally, Plaintiff’s vague, conclusory, and unsupported

allegations do not state a claim for which the requested relief may be granted. Accordingly,

Plaintiff’s Complaint must be dismissed with prejudice.

   II.      Legal Standard

            a. Subject-Matter Jurisdiction

         Prior to making any ruling on the merits, “[a] federal court must first determine that it has

jurisdiction over a case…” Urban Health Care Coalition v. Sebelius, 853 F.Supp. 2d 101, 104

(D. D.C. 2012). Pursuant to a Rule 12(b)(1) motion to dismiss for lack of subject-matter

jurisdiction, “the plaintiff bears the burden of establishing that the court has subject matter

jurisdiction.” See id. at 105 (citing Larsen v. U.S. Navy, 486 F.Supp. 2d 11, 18 (D.D.C. 2012)).

“Because subject-matter jurisdiction focuses on the court’s power to hear the claim… the court

must give the plaintiff’s factual allegations closer scrutiny when resolving a Rule 12(b)(1)

motion than would be required for a Rule 12(b)(6) motion for failure to state a claim.” See id.

(citing Jin v. Ministry of State Sec., 475 F. Supp. 2d 54, 60 (D.D.C. 2007)).

         Specifically, “this Court’s judicial power is limited to adjudicating actual ‘cases’ and

‘controversies.’” Holt v. Am. City Diner, Inc., 2007 U.S. Dist. LEXIS 35284, *12 (D.D.C. 2007)

(citing Allen v. Wright, 468 U.S. 737, 750 (1984)). “[A] showing of standing is an essential and

unchanging predicate to any exercise of [a court’s] jurisdiction.” Urban Health Care Coalition,

853 F.Supp. 2d at 105. “In order to satisfy the constitutional standing requirements, a plaintiff

must establish (1) that he or she has suffered an injury in fact, which is the invasion of a legally

protected interest which is (a) concrete or hypothetical; (2) that there a causal connection


                                                   3
          Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 5 of 13




between the injury and the conduct at issue, such that the injury is fairly traceable to the

challenged act; and (3) that it is likely as opposed to speculative that the injury will be redressed

by a favorable decision.” Holt, 2007 U.S. Dist. LEXIS at *14 (citing Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992)).

             b. Failure to State a Claim Upon Which Relief Can Be Granted

                 A complaint must “contain ‘a short and plain statement of the claim’ in order to

give the defendant fair notice of the claim and the grounds upon which it rests.” Umude v. Am.

Sec. Programs, Inc., 107 F. Supp. 3d 52, 54 (D.D.C. 2015) (quoting Fed. R. Civ. P. 8(a)(2)).

Specifically, “a complaint must contain “enough facts to state a claim to relief that is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). According to Fed. R. Civ. P.

12(b)(6), a motion to dismiss is appropriate when a plaintiff fails “to state a claim upon which

relief can be granted.”

          To survive a Rule 12(b)(6) motion, “the complaint must ‘plead[] factual content that

allows the court to draw the reasonable inference that the defendant is labile for the misconduct

alleged,’ and ‘must suggest a plausible scenario that shows that the pleader is entitled to relief.’”

Patton Boggs LLP v. Chevron Corp., 683 F.3d 397, 403 (D.C. Cir. 2012) quoting Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009); Jones v. Horne, 634 F.3d 588, 595 (D.C. Cir. 2011)). Further,

“a court need not accept a plaintiff’s legal conclusions as true, [], nor must a court presume the

veracity of the legal conclusions that are couched as factual allegations.” Umude, 107 F. Supp.

3d at 54.

   III.      Argument

             a. Plaintiff Has Failed to Establish This Court’s Subject-Matter Jurisdiction




                                                  4
        Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 6 of 13




       Plaintiff does not have standing to bring this action. She is a resident of Florida who, on

the dates identified in the Complaint, had no actual intent to travel to Washington, DC, and stay

at the Hotel Lombardy. Plaintiff is a self-appointed “tester” who patrols third-party travel sites

for purported ADA violations. The Complaint specifically states that on the dates identified,

“Plaintiff visited the websites for the purpose of reviewing and assessing the accessible features

at the Property and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e)

and her accessibility needs.” ECF-2, ¶ 10. The Complaint then lists six purported violations at

different third-party booking sites. In support of her claims, Plaintiff states that each site “did not

identify or allow for reservation of accessible guest rooms and did not provide sufficient

information regarding accessibility at the hotel.” ECF-2, ¶ 10(a)-(f). The Complaint also includes

a threat to re-visit the websites and provides insight into her record keeping. ECF-2, ¶ 11.

Plaintiff’s intent is transparent and clearly stated: from her own home, plaintiff searches third-

party booking sites and “maintains a list of all hotels she has sued… entering the dates she did

visit and plans to again visit the hotel’s online reservations system.” See id. Plaintiff never

actually attempted to book a room at the Hotel Lombardy for any real trip to Washington, DC.

Plaintiff has never been to the Hotel Lombardy. Plaintiff further alleges that the purported

violations “infringe her right to travel free of discrimination and deprive her of the information

needed to make meaningful choices for travel.” She also alleges “frustrations and humiliation,”

“isolation and segregation,” and that she “has suffered and will continue to suffer direct and

indirect injury…” ECF-2 ¶¶ 13-14. However, Plaintiff has not suffered an actual and actionable

injury that satisfies standing requirements for subject-matter jurisdiction.

       This Court does not automatically permit tester standing under the ADA. As set forth

above, Plaintiff must allege “(1) that he or she has suffered an injury in fact, which is the


                                                   5
        Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 7 of 13




invasion of a legally protected interest which is (a) concrete or hypothetical; (2) that there a

causal connection between the injury and the conduct at issue, such that the injury is fairly

traceable to the challenged act; and (3) that it is likely as opposed to speculative that the injury

will be redressed by a favorable decision.” Holt, 2007 U.S. Dist. LEXIS at *14 (citing Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992)). Specifically, “in an action requesting

injunctive or declaratory relief, a demonstration of imminent, future injury is required to

demonstrate standing.” See id. at *14. Additionally, since plaintiff seeks injunctive relief,

plaintiff “must allege a likelihood of future violations of [her] rights… not simply future effects

from past violations.” See id. (internal citations omitted). Further, since “injunctions regulation

future conduct, a party has standing to seek injunctive relief only if the party alleges, and

ultimately proves, a real and immediate – as opposed to merely conjectural or hypothetical –

threat of future injury.” See id.

        In this case, the allegations set forth in the Complaint amount to nothing more than mere

conjecture or hypothetical injury. There are no allegations of legitimate, real, and immediate

future injury. Plaintiff bears the burden of demonstrating that she has standing to bring this

action and her allegations fall short. In the only opinion by this Court specifically, evaluating

standing under an alleged violation of 28 C.F.R. ¶ 36.302 et. seq., this Court has previously held

that “an abstract statement of intent to return to a site where an alleged further injury will occur

is not enough to demonstrate ‘imminent’ future injury required for a plaintiff to have standing to

seek injunctive relief…” Holt at *18. The plaintiff in Holt, sued the American City Diner for

violations of 28 C.F.R. ¶ 36.302 et. seq. Plaintiff, a wheelchair bound individual, who had

previously brought 17 other ADA lawsuits, alleged nine violations against the diner from a visit

he attempted to make the prior year. Although the plaintiff never actually entered the restaurant,


                                                  6
        Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 8 of 13




he alleged barriers to access regarding parking, an accessible route to entrance, accessible

entrance doors, the bathroom, and accessible dining room seating. Holt at *7. He further alleged

that he did not return to the dine, but desires and intends to do so. See id. at *7-9. Additionally,

despite his experience, he never communicated, personally, or through counsel, any of his

concerns to the diner or anyone associated with it. See id. at 8-9. The Court held that plaintiff

failed to establish subject matter-jurisdiction and had no standing to bring the lawsuit. The Court

explained that if it held that plaintiff had met his burden of demonstrating standing based on the

statements that

        He intend to return to the Restaurant and frequents the ‘area’ of the Restaurant three
        time a week, with nothing further, the Court in essence have to conclude that any
        disabled individual who had visited a restaurant one time and passed through the
        area with some regularity could properly bring suit against that public
        accommodation on the basis of such general declarations. The Court finds that such
        a conclusion would stretch the definition of Article III standing beyond its limits
        and turn Lujan on its face. Holt at * 28.

        Unlike the plaintiff in Holt, this Plaintiff has never been to the Hotel Lombardy. She has

no actual plans to visit the hotel and, as a resident of Florida, does not frequent the area. Further,

there are no allegations that Plaintiff desires to stay at the hotel. Plaintiff’s allegations fail to

establish standing and do not allege any imminent injury, required for the injunctive relief

requested.

        This Court also analyzed standing under the ADA in Equal Rights Ctr. V. Hilton Hotels

Corp., 2009 U.S. Dist. LEXIS 126645 (2009). Hilton involved three individual plaintiffs. The

first plaintiff tried to reserve an accessible ocean-view room at a Hilton hotel in Hilton Head,

South Carolina; the second plaintiff tried to use Hilton’s online reservation system to book an

accessible room at a Hilton hotel in Plymouth Meeting, Pennsylvania, but was given a non-

accessible room upon arrival; and the third plaintiff, during his stay at the Capital Hilton in


                                                    7
        Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 9 of 13




Washington, D.C., discovered that none of the rooms offered roll-in showers. Hilton, 2009 U.S.

Dist. LEXIS at *4. Hilton moved to dismiss for lack of standing. The Court explained that “for

standing to sue under Title III of the ADA, a plaintiff must simply allege that she has ‘become

aware of discriminatory conditions existing at a public accommodation, and is thereby deterred

from visiting or patronizing that accommodation.” See id. at *7. In regard to the individual

plaintiffs, the Court held that the first individual who attempted to reserve a room in Hilton

Head, South Carolina, and has a continuing desire to vacation at the ocean-front Hilton Hotel at

that location, had sufficiently established his standing. Hilton at 7-8. Additionally, the Court held

that the third plaintiff who, while staying at the Hilton in Washington, D.C. realized that no roll-

in showers were available, had also established standing for his claims. Hilton at 8-9. However,

the second plaintiff, who attempted to book an accessible room at the Hilton in Plymouth

Meeting, Pennsylvania for her company’s annual meeting, did not sufficiently establish standing.

Hilton at 9-10. The Court opined that because she did not allege a desire to stay at that hotel or

even that she would be compelled to stay at one, her allegations were “too remote to constitute a

‘real and immediate’ future violation of her rights.” See id.

       The allegations at issue in this case, are similar to the second plaintiff’s allegations in

Hilton. However, the allegations in this case are even more remote. Unlike the second plaintiff in

Hilton, Plaintiff in this case has not alleged any connection to Washington, D.C. or this specific

hotel. Plaintiff baldy alleges that she plans “to revisit Defendant’s online reservations system in

order to test it for compliance with 28 C.F.R. Section 36.302(e). ECF- 2, ¶11. This statement

evinces the fatal flaw in Plaintiff’s Complaint. Plaintiff has no intent to visit the Hotel

Lombardy, her search of the online booking sites had no connection to any planned trip to

Washington, D.C. or the Hotel Lombardy, and Plaintiff has no desire to actually stay at the Hotel


                                                  8
        Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 10 of 13




Lombardy. Plaintiff’s allegations are too remote for any real and immediate violation of her

rights. Accordingly, Plaintiff’s Complaint must be dismissed for lack of subject-matter

jurisdiction.

            b. The Complaint Fails to State a Claim Upon Which Relief Can Be Granted

        As set forth in detail above, Plaintiff’s Complaint alleges that while at her home in

Florida and without any actual intent to travel to Washington, D.C. or stay at the Hotel

Lombardy, while fulfilling her role as a self-appointed “tester” of third-party online booking

websites, purportedly checked several third-party sites for accommodations at the Hotel

Lombardy. Specifically, Plaintiff alleges, on July 17, 19, 20, 21, and 25 of 2020, the websites

from booking.com, expedia.com, hotels.com, priceline.com, orbitz.com, and agoda.com “did not

identify or allow for reservation of accessible guest rooms and did not provide sufficient

information regarding accessibility at the hotel.” ECF-2, ¶ 10. Plaintiff has never been to the

Hotel Lombardy, she has no desire to stay there, she did not visit the sites for any actual trip, and

she has not suffered any actual actionable injury. Further, the alleged violations set forth on the

identified third-party websites lack any factual support, are vague, and conclusory.

        The Complaint at issue “must contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.” Ware v. Hyatt, 2014 U.S. Dist. LEXIS 203101, *12

(2013) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “The plausibility standard is not akin

to a 'probability requirement,' but it asks for more than a sheer possibility that a defendant has

acted unlawfully…[W]here the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct, the complaint has alleged — but it has not 'show[n]' 'that the

pleader is entitled to relief.'" See id. (quoting Iqbal at 679, quoting Fed. R. Civ. Pro. 8(a)(2).”

Specifically, a “pleading must offer more than "labels and conclusions" or a "formulaic recitation


                                                   9
         Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 11 of 13




of the elements of a cause of action," See id. (quoting Iqbal at 678, quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)).

         Plaintiff’s claims rely on the requirements set forth in 28 C.F.R. § 36.302(e)(1), which

states

         (1) Reservations made by places of lodging. A public accommodation that owns,
         leases (or leases to), or operates a place of lodging shall, with respect to reservations
         made by any means, including by telephone, in-person, or through a third party—
                 (i) Modify its policies, practices, or procedures to ensure that individuals
         with disabilities can make reservations for accessible guest rooms during the same
         hours and in the same manner as individuals who do not need accessible rooms;
                 (ii) Identify and describe accessible features in the hotels and guest rooms
         offered through its reservations service in enough detail to reasonably permit
         individuals with disabilities to assess independently whether a given hotel or guest
         room meets his or her accessibility needs;
                 (iii) Ensure that accessible guest rooms are held for use by individuals with
         disabilities until all other guest rooms of that type have been rented and the
         accessible room requested is the only remaining room of that type;
                 (iv) Reserve, upon request, accessible guest rooms or specific types of guest
         rooms and ensure that the guest rooms requested are blocked and removed from all
         reservations systems; and
                 (v) Guarantee that the specific accessible guest room reserved through its
         reservations service is held for the reserving customer, regardless of whether a
         specific room is held in response to reservations made by others.



         Plaintiff’s allegations baldly state that on the dates identified, the six third party booking

sites, did not identify or allow for reservation of accessible guest rooms and did not provide

sufficient information regarding accessibility. ECF-2 ¶ 11. Plaintiff seeks injunctive relief and

attorney’s fees. ECF-2 ¶ 19-20. As set forth above, Plaintiff has failed to establish a requisite

injury in fact or immediate threat of injury. Additionally, Plaintiff’s allegations lack sufficient

facts to survive at this stage. Plaintiff’s complaint fails to include any facts regarding why she

was unable to reserve an accessible room and fails to include any facts regarding what

information regarding accessibility was provided on the sites. Further, Plaintiff has not alleged


                                                    10
        Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 12 of 13




any facts regarding the hotel’s policies, practices, and procedures, as required by 28 C.F.R. §

36.302(e)(1)(i). Plaintiff has failed to allege any facts regarding any identification or description

of accessible features, required by 28 C.F.R. §36.302(e)(ii). Further, Plaintiff’s Complaint does

not include any allegations that support an inference that the hotel does not ensure that accessible

rooms are held for disabled individuals, required by 28 C.F.R. §36.302(e)(iii). Plaintiff’s

Complaint does not include any allegations that Plaintiff actually requested an accessible room,

pursuant to 28 C.F.R. §36.302(e)(iv). Lastly, Plaintiff’s Complaint fails to include any factual

allegations that she was not guaranteed an accessible room was held for her use, as set forth

under 28 C.F.R. §36.302(e)(v).

        Plaintiff’s allegations are devoid of any supporting facts. This Court cannot simply accept

Plaintiff’s allegations as true. As a result of plaintiff’s conclusory allegations, this Court cannot

reasonably infer that any violation or actionable injury has occurred that would be remedied by

injunctive relief. Plaintiff has not suffered any actionable injury. Plaintiff has not been deterred

from booking a room at the hotel. Plaintiff vaguely and in conclusory fashion makes the same

allegations against all six third party sites. Plaintiff’s Complaint falls short of the essential facts

required to state a claim for injunctive relief and amounts to mere “labels and conclusions.”

Accordingly, Plaintiff’s Complaint must be dismissed with prejudice.

        Wherefore, for the reasons set forth herein and any additional reasons provided at oral

argument, Defendant, R B Properties Inc., by counsel, respectfully requests that this Court grant

its Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(1) or, in the alternative, 12(b)(6), with

prejudice.

                                                        R B PROPERTIES INC.,
                                                        By Counsel




                                                   11
       Case 1:20-cv-02208-RBW Document 8-1 Filed 10/06/20 Page 13 of 13




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on the 6th day of October, 2020, I caused a true copy of the
foregoing to be served by efiling and first class mail, on:

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Counsel for Deborah Laufer


                                                             /s/ John D. McGavin
                                                             John D. McGavin




                                                12
